Case 4:20-cv-04108-SOH Document 28-1                   Filed 05/16/22 Page 1 of 8 PageID #: 85




                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF ARKANSAS
                              TEXARKANA DIVISION

COURTNEY GUTIERREZ                                                                       PLAINTIFF

v.                                CASE NO. 4:20-cv-4108-SOH

THE 1873 CLUB OF TEXARKANA,                                                            DEFENDANTS
CROSSTIES OF TEXARKANA, INC.,
CROSSTIES TEXARKANA HOLDINGS, INC.,
ALLISON MUNN, JOE GAY and
RONALD LESLIE MUNN


                SETTLEMENT AGREEMENT AND RELEASE OF CLAIMS

       THIS SETTLEMENT AGREEMENT AND RELEASE OF CLAIMS (“Agreement”) is
made and entered into by and between Plaintiff Courtney Gutierrez (hereinafter referred to as
“Employee” or “Plaintiff”), which includes her agents, heirs, dependents, personal
representatives, executors, administrators, successors, and assigns (if any), and Defendants The
1873 Club of Texarkana (“The 1873 Club”), Crossties of Texarkana, Inc. (“Crossties”), Crossties
Texarkana Holdings, Inc. (“Crossties Holdings”), Allison Munn, Joe Gay, and Ronald Leslie
Munn, which, includes any assigns, including The 1873 Club’s, Crossties’ and Crossties
Holdings’ current and former officers, agents, shareholders, directors, owners, employees,
attorneys, accountants, franchisors, successors, parent or subsidiary corporations/businesses, and
assigns and the respective current and former officers, agents, shareholders, directors, Board
Members, employees, attorneys, accountants, successors, and affiliated entities, if any
(hereinafter collectively referred to as “Defendants”) (collectively, “the Parties”).

                                 I.      STATEMENTS OF FACT

        The Parties acknowledge that:

       Plaintiff and Defendants dispute the nature of services provided by Plaintiff to The 1873
Club of Texarkana, Inc. in 2020, including her status as an employee or contractor, number of
hours worked, and nature of services provided;

        It is the desire of the Parties to settle fully, finally, and forever any and all issues that may
exist between them, including but not limited to any claims, disputes, or other issues arising out
of Employee’s alleged employment with Defendants.

        Moreover, the Parties desire to resolve any and all claims which Plaintiff may have
against Defendants as of the date of the execution of this Agreement solely to avoid the cost and
uncertainty of litigation;




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Case 4:20-cv-04108-SOH Document 28-1                 Filed 05/16/22 Page 2 of 8 PageID #: 86




        The Parties have exchanged information relating to Plaintiff’s claims and Defendants’
defenses and jointly attended a settlement conference with a Magistrate Judge to assess the
strengths and weaknesses of their claims and defenses;

        Plaintiff further represents and warrants that she freely negotiated the terms of this
Agreement and agrees to and executes it voluntarily. Plaintiff understands that this is a voluntary
waiver of certain claims as set forth herein, whether known or unknown against Defendants, that
relate in any way to her alleged employment with, contracted work with, complaints about,
injuries from, compensation due, benefits, contractual obligations, or separation from
Defendants, up to and including the date of the execution of this Agreement;

        Plaintiff acknowledges and agrees that in exchange for entering into this Agreement, she
is receiving consideration, i.e., payments described below, which is something that she is not
otherwise entitled to receive; and

      Therefore, in consideration of the statements and mutual promises contained in this
Agreement, the Parties agree as follows:


                                     II.     AGREEMENT

       A.      Payments.

       1.     Defendants agree to pay the gross amount of Six Thousand Four Hundred Dollars
and 00/100 ($6,400.00) in full and final settlement of Plaintiff’s claims for back wages in this
matter. This payment will be made as follows:

               a.      Defendants will collectively make one payment to Plaintiff in the amount
       of Six Thousand Four Hundred Dollars and 00/100 ($6,400.00), reportable on a 2022 IRS
       Form 1099. A form 2022 IRS Form 1099 will be issued to reflect the payment to
       Plaintiff. Plaintiff agrees to provide Defendants with a 2022 Form W-9 to facilitate this
       payment.

               b.      This payment represents the negotiated back wages, liquidated damages,
       interest, and other damages allegedly owed to Plaintiff.

              c.    The check will be provided by Defendants’ Counsel to Plaintiff’s Counsel,
       Sanford Law Firm, PLLC, at 10800 Financial Centre Parkway, Suite 510, Little Rock,
       Arkansas 72211, no later than forty-five (45) days from the Court’s approval of this
       Agreement.

        2.     Plaintiff shall have 90 days from the date of payment to negotiate the settlement
check. If Plaintiff’s check is lost, destroyed, or otherwise unusable, Plaintiff’s Counsel shall
notify Defendants, through counsel, within 90 days of the date of payment and Defendants will,
upon verification that the original check has not been negotiated, issue a replacement. The payee
shall have 90 days from the date of re-issuance to negotiate the replacement check.


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Case 4:20-cv-04108-SOH Document 28-1                 Filed 05/16/22 Page 3 of 8 PageID #: 87




         B.      Attorney Fees and Costs. The Parties have not yet negotiated a separate amount
of attorney fees and costs to Plaintiff. Counsel for the Parties agree to negotiate in good faith
regarding any attorney fee payment related to this settlement. If counsel for the Parties cannot
reach a mutual agreement, counsel for Plaintiffs will submit a Petition for Fees with the Court for
review and approval within thirty (30) days following an entry of an Order granting dismissal of
this litigation. In the event a Petition for Fees is submitted to the Court, the Parties agree that
Court determined attorney fee award may be paid by Defendants in up to six (6) monthly
installments, the final of which shall be paid on or before December 31, 2022. The Parties further
agree that Defendants may, in their discretion, prepay any installment payment or the balance of
the attorney fee award, without incurring any penalty for such prepayment.

        C.      Dismissal of All Claims with Prejudice. Upon approval by this Court, the
claims of Plaintiff set forth in the Complaint in this matter will be dismissed by the Court with
prejudice. Plaintiff represents and warrants that, other than this lawsuit, she has no other
lawsuits, charges, administrative proceedings, or other claims of any nature pending against
Defendants in any state or federal court or before any agency or other administrative body.
Plaintiff represents and warrants that she has not assigned to a third party any of her current or
potential claims against Defendants.

        D.      Limited Release of Claims by Plaintiff. In exchange for the promises contained
herein, Plaintiff hereby fully, finally and forever releases and discharges Defendants, officially
and individually, their representatives and assigns, as well as any predecessors, successors,
parent and subsidiary corporations, affiliates, related entities, owners, directors, and officers
(together the “Released Entities”) from any and all claims, obligations, demands, actions, rights,
causes of action and liabilities, whether known or unknown, arising on or before the date
Plaintiff signs this Agreement, against Defendants for alleged unpaid wages, liquidated or other
damages, unpaid costs, contract payments, penalties, premium pay, interest, restitution or other
compensation and relief arising from the alleged failure to properly pay such to Plaintiff under
the FLSA and AMWA and the laws of any state, county, municipality or other governmental
subdivision of the United States or any state, including but not limited to, the States of Arkansas
and/or Texas, regarding failure to pay minimum wages and/or overtime wages.

       1.      Claims Not Waived. The claims released under Paragraph II.D of this Agreement
               do not include the following claims that Plaintiff may have: (1) the right to
               continued benefits in accordance with the Consolidated Omnibus Budget
               Reconciliation Act (“COBRA”); (2) any claim to enforce the terms of this
               Agreement; and/or (3) any claim which cannot be waived as a matter of law.

       2.      Administrative Relief. Nothing in this Agreement shall interfere with the
               Plaintiff’s right to file a charge, cooperate or participate in an investigation or
               proceeding conducted by the U.S. Equal Employment Opportunity Commission,
               U.S. or Arkansas Departments of Labor, the U.S. Securities and Exchange
               Commission, or any other federal, state, or local regulatory or law enforcement
               agency. However, Plaintiff hereby waives any and all rights to recover monetary
               relief in any way, by virtue of any such investigation, hearing or proceeding
               conducted by those agencies for claims released by virtue of this Agreement and


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Case 4:20-cv-04108-SOH Document 28-1                  Filed 05/16/22 Page 4 of 8 PageID #: 88




               arising prior to the Effective Date of this Agreement. Further, nothing in this
               Agreement shall prohibit Plaintiff from seeking or obtaining a whistleblower
               award from the Securities and Exchange Commission pursuant to Section 21F of
               the Exchange Act.

        E.       No Future Employment:        In further exchange for the consideration provided
by Defendants, Plaintiff agrees to waive and relinquish any claim to any future employment,
right of reinstatement, or future consideration for employment with The 1873 Club, Crossties,
Crossties Holdings, or any other entity owned in whole or part by Allison Munn, Joe Gay and/or
Ronald Leslie Munn. Moreover, Plaintiff agrees to never reapply for any position with The 1873
Club, Crossties, Crossties Holdings, or any other entity owned in whole or part by Allison Munn,
Joe Gay and/or Ronald Leslie Munn, or take any assignment to work as a temporary employee
there. Plaintiff acknowledges that if she is inadvertently hired in any such capacity, Defendants
may immediately terminate that employment without cause and without liability.

         F.     Non-Disclosure. Plaintiff agrees to not voluntarily disclose the contents and
terms of this Agreement or the facts and allegations upon which it was based, including the
consideration for this Agreement, except to her spouse, attorneys, and tax/financial advisors, if
any, or unless otherwise mandated by law or legal process. Plaintiff agrees that, if asked,
Plaintiff may state that the matter has been resolved, or words of similar effect. If an action is
instituted to enforce the terms of this Agreement, disclosure of this Agreement will not constitute
a breach of this provision.

        G.      No Admission of Liability; Inadmissibility of Agreement. This Agreement
shall not in any way be construed as an admission by Defendants of any liability whatsoever or
as an admission by Defendants of any acts of wrongdoing, misclassification, or discrimination
against Plaintiff or any other persons. In fact, Defendants specifically disclaim improper wage
payments, or any liability and wrongdoing. Defendants affirmatively state that they have fully
complied with all applicable statutes, regulations, and ordinances. The terms of this Agreement
will not establish any precedent, nor will this Agreement be used as a basis to seek or justify
similar terms in any subsequent situation involving persons other than Plaintiff. This Agreement
shall not be offered, used, or admitted into evidence in any proceeding or litigation, whether
civil, criminal, arbitral, or otherwise, except for any actions to enforce the terms of this
Agreement, unless ordered to produce this Agreement by a court of law.

        F.      Taxes. Plaintiff shall be responsible for the correct payment of and reporting,
including, but not limited to, the filing of returns, where required by law, with any and all
federal, state, and local income tax authorities, of all payments received under this Agreement
and shall pay all taxes, duties, levies, or imposts due or owing to any and all such taxing
authorities. Plaintiff agrees to indemnify, defend, and hold harmless Defendants and the
Released Entities from and against any and all penalties or taxes, claims, demands, and causes of
action assessed or imposed by any federal, state and/or local taxing authority against Defendants
and/or the Released Entities for or on account of penalties and/or taxes allegedly due and owing
with respect to the payments described herein, or that in any way arise from or otherwise relate
to the failure of Plaintiff to report or pay any and all taxes due or owing from Plaintiff to any and
all taxing authorities. Plaintiff agrees that this indemnity obligation set out in this section shall


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Case 4:20-cv-04108-SOH Document 28-1                 Filed 05/16/22 Page 5 of 8 PageID #: 89




include, but not be limited to, any and all payments, settlements, judgments, losses, damages,
liabilities, taxes, penalties, assessments, fines, interest, reasonable costs of defense, including
reasonable attorney fees, and other expenses arising from this indemnity obligation. Plaintiff
acknowledges and agrees that she has not received any tax planning advice from Defendants or
Defendants’ attorneys.

       H.      Approval Process: The Parties shall file a joint motion for approval of this
Agreement. If the Court does not approve this Agreement or approves it subject to conditions or
modifications which are not acceptable to both Parties, the Parties shall attempt to negotiate in
good faith in order to modify the Agreement in a form acceptable to both the Parties and the
Court.

        I.     Knowing and Voluntary Waiver: Plaintiff acknowledges and agrees that she
has had sufficient time to consider this Agreement and to consult her undersigned legal counsel
considering its meaning and significance. When entering into this Agreement, Plaintiff has not
relied on any representations or warranties made by the Parties, other than representations and
warranties expressly set forth in this Agreement.

        J.      Communications with Plaintiffs: Defendants have no responsibility with
respect to any inquiries from Plaintiff about this Agreement and the settlement described herein.

        K.      Choice of Law and Venue: This Agreement is deemed by the Parties to be made
and entered into in the State of Arkansas. It shall be interpreted, enforced, and governed under
the laws of Arkansas. Any action to enforce any part of this Agreement shall be brought in the
federal courts located in Miller County, Arkansas.

        L.      Waiver: Any failure by any Party to insist upon the strict performance by the
other Party of any of the provisions of this Agreement shall not be deemed a waiver of any of the
other provisions of this Agreement, and such Party, notwithstanding such failure, shall have the
right thereafter to insist upon the specific performance of any and all of the provisions of this
Agreement.

       M.     Binding Agreement: This Agreement shall be binding upon, and inure to the
benefit of, the Parties, as well as their affiliates, agents, employees, beneficiaries, heirs,
executors, administrators, successors, and/or assigns.

         N.     Cooperation Clause: The Parties acknowledge that it is their intent to
consummate the settlement described herein, and they agree to cooperate to the extent necessary
to effectuate and implement all terms and conditions of this Agreement and to exercise their best
efforts to accomplish the foregoing terms and conditions of this Agreement.

        O.     Entire Agreement: This Agreement contains the entire Agreement between the
Parties, and it replaces any prior agreements or understandings between the Parties. All
modifications to this Agreement must be made in writing and signed by the Parties.




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Case 4:20-cv-04108-SOH Document 28-1                 Filed 05/16/22 Page 6 of 8 PageID #: 90




        P.      Severability: The provisions of this Agreement are severable, and if any part of it
is found to be unenforceable, the other parts shall remain fully valid and enforceable.

       Q.      Captions: The captions or headings of the sections and paragraphs of this
Agreement have been inserted for convenience of reference only and shall have no effect upon
the construction or interpretation of any part of this Agreement.

        R.     Remedy for Breach: If either Party believes that there has been a violation of this
Agreement, including but not limited to violations of any of the obligations set forth in this
Agreement, then that Party may present this Agreement to the United States District Court
Western District of Arkansas, Texarkana Division, for purposes of obtaining injunctive and/or
monetary relief, as well as damages arising from any breach, including legal fees and costs. The
Parties agree that whether a violation of this Agreement has occurred shall be determined by a
court of competent jurisdiction.

        S.      Signatures:     The Parties agree that this Agreement may be executed
electronically, and a signed and faxed copy or signed and emailed copy of this Agreement is just
as valid as an original signed copy of this Agreement. The Parties further agree that this
Agreement may be signed in multiple counterparts, each of which is an original. Should
multiple counterparts exist, they will be provided to all Parties for their records.

        T.      Construction: This Agreement is deemed to have been drafted jointly by the
Parties and, in the event of a dispute, will not be construed in favor of or against any Party by
reason of that Party’s contribution to the drafting of this Agreement.




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Case 4:20-cv-04108-SOH Document 28-1       Filed 05/16/22 Page 7 of 8 PageID #: 91




PLAINTIFF:


05 / 04 / 2022
_____________
Date                               Courtney Gutierrez


DEFENDANTS:


____________
Date                             By: Ronald Leslie Munn, Individually and on behalf
                                 of The 1873 Club of Texarkana and Crossties of
                                 Texarkana, Inc.


____________
Date                             By: Joe Gay, Individually and on behalf of
                                 Crossties Texarkana Holdings, Inc.


____________
Date                             By: Allison Munn, Individually




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            Case 4:20-cv-04108-SOH Document 28-1                    Filed 05/16/22 Page 8 of 8 PageID #: 92




            PLAINTIFF:


            _____________
            Date                                               Courtney Gutierrez


            DEFENDANTS:

            5/6/2022
            ____________
            Date                                             By: Ronald Leslie Munn, Individually and on behalf
                                                             of The 1873 Club of Texarkana and Crossties of
                                                             Texarkana, Inc.

            5/16/2022
            ____________
            Date                                             By: Joe Gay, Individually and on behalf of
                                                             Crossties Texarkana Holdings, Inc.

            5/16/2022
            ____________
            Date                                             By: Allison Munn, Individually




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